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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 DEMETRICK PENNIE,                              §
                                                §
                 Plaintiff,                     §
                                                §
 v.                                             §           Civil Action No. 3:19-cv-01945-E
                                                §
 THE DALLAS MORNING NEWS, INC.,                 §
 NAOMI MARTIN, ARIANA GIORGI,                   §
 MAYES MEDIA GROUP, BRIAN                       §
 MAYES, DALLAS POLICE                           §
 ASSOCIATION, MICHAEL MATA,                     §
 THOMAS POPKEN, DALLAS POLICE                   §
 ASSOCIATION’S ASSIST THE OFFICER               §
 FOUNDATION, INC., FREDERICK                    §
 FRAZIER, JOHN BURK, CITY OF                    §
 DALLAS, AND MIKE RAWLINGS                      §
                                                §
                 Defendants.                    §

  BRIEF IN SUPPORT OF DEFENDANT ARIANA GIORGI’S MOTION TO DISMISS

         Pursuant to Local Rule 7.1(d), Defendant Ariana Giorgi (“Giorgi”) submits the following

Brief in support of her Motion to Dismiss.

Dated: December 20, 2019

                                                Respectfully submitted,

                                                By: /s/ Paul C. Watler
                                                   Paul C. Watler
                                                   State Bar No. 20931600
                                                   pwatler@jw.com
                                                   Shannon Zmud Teicher
                                                   State Bar No. 24047169
                                                   steicher@jw.com
                                                   Eric D. Wong
                                                   State Bar No. 24102659
                                                   ewong@jw.com
                                                   JACKSON WALKER LLP
                                                   2323 Ross Ave., Suite 600
                                                   Dallas, Texas 75201



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                                                     Phone: (214) 953-6000
                                                     Fax: (214) 953-58

                                                 ATTORNEYS FOR DEFENDANTS THE
                                                 DALLAS MORNING NEWS, INC., NAOMI
                                                 MARTIN, AND ARIANA GIORGI


                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the following has been served upon all parties and

counsel registered to use the Court’s ECF system, in accordance with Federal Rule of Civil

Procedure 5(b)(2)(e) and Local Rule 5.1(d).

                                                 /s/ Eric D. Wong
                                                 Eric D. Wong




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                                       INTRODUCTION

       Pennie’s defamation claims against Giorgi are untimely, implausible, and have no place in

federal court. The Court lacks subject matter jurisdiction to hear the claims because they present

no federal question, and arise out of a different case and controversy than Pennie’s civil rights

claims against the City of Dallas. The Complaint also fails to state a viable federal claim against

any governmental actor at all, removing any basis for supplemental jurisdiction over Pennie’s

defamation claims. Jurisdiction notwithstanding, Pennie’s claims are also both time-barred and

implausible on their face.    The one-year statute of limitations also lapsed during Pennie’s

inexplicable months-long delay between filing and service of the Complaint. And Pennie, a public

official required to allege actual malice, fails to plausibly state that element of his defamation

claims against Giorgi. Any of these independent grounds suffices for dismissal of Pennie’s claims

against Giorgi. The Court should expeditiously do so.

       Giorgi submits her Motion and Brief in Support thereof in full, as required by the Federal

Rules of Civil Procedure. See Simmons v. Jackson, No. 3:15-cv-1700-S-BT, 2018 WL 4574975,

at *3 (N.D. Tex. Sept. 6, 2018); McFarland v. Fla. Pharm. Sols., 358 F. Supp. 3d 1316, 1322

(M.D. Fla. 2017). She alerts the Court, however, that her Motion and Brief are substantially the

same as those submitted by The Dallas Morning News, Inc. (“TDMN”) and Naomi Martin

(together the “News Defendants”), as Giorgi is an employee of TDMN, and worked on the article

at issue with the News Defendants. See (Dkt. 17; 18). The only substantive differences between

her motion and that submitted by the News Defendants are: (1) Plaintiff took nearly a month longer

to serve Ms. Giorgi than those Defendants—nearly four months in total, see p. 2, infra; and (2) the

Complaint contains even fewer allegations about Giorgi than the already insufficient allegations

identified by the News Defendants. See pp. 21–22, infra.




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                                             BACKGROUND

         Pennie filed his Complaint on August 14, 2019. See [Dkt. 1]. He thereafter delayed in

requesting summons from the Clerk until October 28, 2019. See [Dkt. 5]. Pennie failed to effect

service upon Ms. Giorgi until December 3, 2019. As set forth in his Motion for Extension, “[t]he

reason for” Pennie’s delay between filing and taking any action to complete service “[was] that

Mr. Pennie has been deciding whether to proceed with this case.” [Dkt. 9].

         As to its substance, the Complaint broadly alleges two categories of claims: (1) deprivation

of federal rights by the City of Dallas and its former Mayor, Mike Rawlings1 (the “Federal

Claims”), see [Dkt.1 ¶¶ 70–113]; and (2) unrelated acts of libel allegedly committed by the

remaining defendants, including the News Defendants and Giorgi (the “Defamation Claims”). See

id. at ¶¶ 114–37.

I.       Factual allegations pertaining to the Federal Claims.

         Pennie “currently holds the rank of police sergeant with the Dallas Police Department.”

Id. at ¶ 5. While sparse on supporting facts, as to the Federal Claims, the Complaint asserts that

“Defendant City of Dallas, represented by Defendant Rawlings as Mayor, publicly endorsed

Defendant ATO,” a non-profit corporation, “and encouraged citizens to support it in an effort to

help Defendant ATO monopolize fundraising” for charitable causes benefitting Dallas police

officers. Id. at ¶ 37. Per the Complaint, Defendants Rawlings and City of Dallas “made it clear

that they were in the business of ‘picking winners and losers’ among charities in Dallas,” and

intended Pennie’s foundation “to be a ‘loser’ in their plotted conspiracy to intentionally and

maliciously take down Plaintiff.” Id. at ¶ 67.




1
 Including one violation of 42 U.S.C. § 1981a, two violations of 42 U.S.C. § 1983 and one violation of the Civil
Rights Act of 1964 (42 U.S.C. § 2000d). See Compl. at 20–25.


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       The scheme purportedly began in the wake of the July 7, 2016 attack in downtown Dallas

that tragically took the lives of five Dallas police officers. Id. at ¶ 27. Pennie’s foundation, DFOF,

was allegedly “one of the three charitable organizations affiliated with the Dallas Police

Department and Defendant City of Dallas collecting donations for the injured officers and fallen

officers’ families.” Id. at ¶28. “The other organizations were Defendant ATO and the Dallas

Foundation.” Id. According to the complaint, Defendant City of Dallas negotiated an illegal

“donations Management Agreement” with Defendant Mata, that “permitted Defendant City of

Dallas to intercept and deliver mail to Defendant ATO for the purpose of opening, reading and

depositing any donations it found within the mail into its bank account, regardless of who the

donations were for.” Id. at ¶¶ 38–39. Defendant City of Dallas then allegedly “received several

donations, checks and letters that were addressed to DFOF,” but “intentionally rerouted them to

Defendant ATO.” Id. at ¶ 41. In response, DFOF filed a lawsuit in this Court, styled as Dallas

Fallen Officer Found. v. Frazier, No. 4:18-cv-00481. Id. at ¶ 43.

II.    Factual allegations pertaining to the Defamation Claims.

       After DFOF filed the lawsuit, the Complaint alleges that “Defendant DMN requested that

Plaintiff and DFOF’s attorney come to its studio for an interview.” Id. at ¶ 44. “During the

interview,” the Complaint contends that “something was wrong as the line of questioning reflected

the [allegedly] false and defamatory statements posted on social media by Defendant DPA and

others about Plaintiff.” Id. at ¶ 46.

       “Over the following weeks, Defendant Martin asked additional questions about Plaintiff,

his family, his organization DFOF and other affiliations.” Id. at ¶ 50. “During a phone interview,”

the Complaint contends that “Defendant Martin made it obvious” that she was writing a

defamatory story about Pennie, based on information received “from Defendant Mayes of




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Defendant Mayes Media, who represents Defendants DPA and ATO about Plaintiff’s operation.”

Id. at ¶ 54.

        The News Defendants and Giorgi then allegedly published a defamatory article about

Pennie on August 17, 2018 (the “Article”), entitled “DPD Sergeant Collected Millions for Fallen

Officers. A Fraction Went to the Families.” Id. at ¶ 56. As to what was purportedly false in the

Article, it allegedly stated “that Plaintiff and [a] telemarketing company had a special relationship

that included ‘kickbacks’ and other deals.” Id. at ¶ 58. The News Defendants and Giorgi also

allegedly “wrote the article as if both the DFOF and the Texas Fallen Officers Foundation

(‘TFOF’) were involved in fundraising for the July 7, 2016 tragedy.” Id. at ¶60. The Complaint

then goes on to list a series of statements from the Article relating to the percentage of donations

that actually made it to officers’ families. See id. at ¶ 63. The Complaint itself contends that

“Following the 2016 tragedy, Plaintiff DFOF . . . raised monies totaling $1.3 million for

philanthropic purposes of which more than $580,00 was donated to families of fallen and injured

officers.” Id. at ¶ 29.

III.    Pennie’s causes of action.

        Based on the above allegations, the Complaint asserts the following causes of action:

   Defendants City of Dallas and Rawlings                          All Defendants
                                                               (except City of Dallas)

 Violations of 42 U.S.C. § 1981a—Intentional General Defamation. Id. at 25–26.
 Discrimination in Employment. Id. at 20.

 Violations of 42 U.S.C. § 1983—Retaliation in Defamation by Implication. Id. at 26–27.
 Violation of the First Amendment (Free
 Speech). Id. at 20–22.

 Violations of 42 U.S.C. § 1983—Racial Defamation Per Se. Id. at 28.
 Discrimination in Violation of the Equal
 Protection Clause. Id. at 23–25.




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 Violations of the Civil Rights Act of 1964 (42
 U.S.C. § 2000d. Id. at 25.



        Pennie seeks $290 million in damages. Id. at 29.

                                     STANDARD OF REVIEW

        “Under Rule 12(b)(1), a claim is properly dismissed for lack of subject-matter jurisdiction

when the court lacks the statutory authority or constitutional power to adjudicate the claim.”

Griener v. United States, 900 F.3d 700, 703 (5th Cir. 2018) (quotations omitted). “The burden of

proof for a Rule 12(b)(1) motion is on the party asserting jurisdiction.” Id. “Accordingly, the

plaintiff constantly bears the burden of proof that jurisdiction does in fact exist.” Andrade v.

Teichroeb, 341 F. Supp. 3d 681, 694 (N.D. Tex. 2018) (emphasis added).

        Dismissal under Rule 12(b)(6) is appropriate when the complaint fails to allege “enough

facts to state a claim to relief that is plausible on its face” and fails to “raise a right to relief above

the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (emphasis added);

Nationwide v. Belo Corp., 512 F.3d 137, 140 (5th Cir. 2007); Robinson v. Radio One, Inc., 695 F.

Supp. 2d 425, 426 (N.D. Tex. 2010).

        Under both Rule 12(b)(6) and Rule 12(b)(1), courts “take the well-pleaded factual

allegations in the complaint as true,” but “do not credit conclusory allegations or allegations that

merely restate the legal elements of a claim.” Chhim v. Univ. of Tex. at Austin, 836 F.3d 467, 469

(5th Cir. 2016). Courts accordingly follow a two-step approach in evaluating motions to dismiss:

“Step one: isolate and ignore statements in the complaint that simply offer legal labels and

conclusions or merely rehash cause-of-action elements . . . Step two: take the complaint’s well-

plead (i.e., non-conclusory, non-speculative) facts as true, drawing all reasonable inferences in the



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pleader’s favor, and see if the plausibly narrate a claim for relief.” Schatz v. Republican State

Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012); see also Am. Dental Ass’n v. Cigna Corp.,

605 F.3d 1283, 1290 (11th Cir. 2010).

                                          ARGUMENT

         The Complaint here suffers from three fatal flaws. First, the well-pleaded facts do not

support federal jurisdiction over the Defamation Claims. Second, Pennie inexcusably delayed in

serving the Complaint on Giorgi until months after the limitations period expired, which mandates

dismissal. Third, the Complaint’s non-conclusory factual allegations reveal nothing more than

accurate reporting, without malice, upon matters of public concern. Each of these self-sufficient

grounds for dismissal are examined further in order below.

I.       The Court lacks subject matter jurisdiction over Pennie’s claims against Giorgi.

         The Complaint asserts 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1367(a)

(supplemental) as bases for federal jurisdiction. See [Dkt. 1 ¶¶ 1–2]. Neither supports jurisdiction

over Pennie’s claims against Giorgi. First, no federal question involving Giorgi appears in the

well-pleaded facts of the Complaint, which asserts only state law defamation claims against her.

Second, Pennie’s private defamation claims against Giorgi arise out of an entirely different

controversy than his assorted constitutional and civil rights claims against the City of Dallas and

its former mayor. Pennie’s attempt to shoehorn a private defamation case between Texas citizens

into federal court accordingly fails.

         A.     The Complaint presents no federal question to support original jurisdiction
                over Pennie’s claims against Giorgi.

         Under 28 U.S.C. § 1331, federal district courts “have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.” Tex. Medicine Res.,

LLP v. Molina Healthcare of Tex., Inc., 356 F. Supp. 3d 612, 615 (N.D. Tex. 2019). “The presence



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or absence of federal-question jurisdiction is governed by the ‘well-pleaded complaint rule,’ which

provides that federal jurisdiction exists only when a federal question is presented on the face of

the plaintiff’s properly pleaded complaint.” Id.

        The Complaint here asserts only state-law defamation claims against Giorgi. See [Dkt. 1 at

25–28]. By contrast, the Complaint alleges one violation of 42 U.S.C. § 1981a,2 two violations of

42 U.S.C. § 1983 and one violation of the Civil Rights Act of 1964 (42 U.S.C. § 2000d) by

Defendants Rawlings and the City of Dallas. See [Dkt. 1 at 20–25]. The Complaint thus

intentionally excludes Giorgi from all claims “arising under the Constitution, laws, or treaties of

the United States.” See id.; 18 U.S.C. § 1331.

        Because the presence of a federal question “must be determined from what necessarily

appears in the plaintiff’s statement of his own claim,” Renegade Swish, L.L.C. v. Wright, 857 F.3d

692, 696 (5th Cir. 2017) (quotations omitted), and because “contentions of defamation, slander,

and libel do not state federal claims,” Kallie v. Tex. Dept. of Family & Protective Servs., No. A-

13-CV-740-SS, 2013 WL 12393921, at *2 (W.D. Tex. Oct. 4, 2013), the Complaint does not

support original federal question jurisdiction as to Pennie’s claims against Giorgi. See id. Pennie

must therefore establish supplemental jurisdiction to keep the Defamation Claims in federal

court—something he cannot do.




2
  While the Complaint styles Pennie’s first cause of action as “Violations of 42 U.S.C. § 1981a,” section 1981a “does
not create a new substantive right or an independent cause of action; rather, it ‘enhances the remedies otherwise
available for intentional employment discrimination.’” Bennett v. Calabrian Chems. Corp., 324 F. Supp. 815, 839
(E.D. Tex. 2004) (quoting Perry v. Dall. Indep. Sch. Dist., No. Civ. A. 3:96-CV-2855, 1998 WL 614668, at *1 n.1
(N.D. Tex. Sept. 2, 1998)). The allegations in this section make clear the Complaint attempts to state a claim for
intentional employment discrimination under 42 U.S.C. § 1981. See [Dkt. 1 ¶¶ 70–74].



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        B.     Pennie’s claims against Giorgi arise out of a different case and controversy
               than the Federal Claims.

        Federal district courts maintain “supplemental jurisdiction over all other claims that are so

related to claims in the action within such original jurisdiction that they form part of the same case

or controversy under Article III.” 28 U.S.C. § 1367. “A claim forms part of the same case or

controversy if the claim is so related to the original claims that it derives from a common nucleus

of operative fact.” Venable v. La. Worker’s Comp. Corp., 740 F.3d 937, 944 (5th Cir. 2013)

(quotations and alterations omitted).

        Pennie’s claims of discrimination by state actors arise out of a wholly different set of

operative facts than his libel claims against Giorgi. “Where a federal court finds that the federal

and state claims do not derive from a common nucleus of operative fact, the court should decline

to exercise jurisdiction.” Reynolds v. Strayhorn, No. A-05-CA-638, 2005 WL 8155585, at *3

(W.D. Tex. Nov. 17, 2005), adopted, Order on Rep. & Rec., Reynolds v. Strayhorn, No. A-05-CA-

638 (W.D. Tex. Dec. 27, 2005), ECF No. 75.

        The Western District applied this rule, and declined supplemental jurisdiction over

similarly bifurcated claims in Reynolds v. Strayhorn. Like Pennie, the plaintiff in Reynolds

asserted defamation claims against TDMN and one of its reporters after “the Dallas Morning News

published an article” that contained allegedly defamatory statements. Id. at *2. Also like Pennie,

the plaintiff asserted various causes of action against government officials involved in the

underlying story for violation of his civil rights, including under 42 U.S.C. § 1983. See id.

Declining to exercise supplemental jurisdiction over the defamation claims, the court observed

that:

               The facts relevant to showing if the News Defendants defamed [the
               plaintiff]’s character are whether: (1) the News Defendants
               published a statement; (2) if that statement defamed [the plaintiff];
               (3) if the News Defendants acted with actual malice or negligence


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               regarding the truth of the published statements; (4) what actions the
               reporter took in investigating and writing this article; (5) whether
               the contents of the article were true at the time it was reported; and
               (6) whether any of those acts can be imputed to the newspaper.

Id. at *3. “These facts,” according the court, were “unrelated to the federal claims [the plaintiff]

is making against the other Defendants.” Id. The claims accordingly lacked “a common nucleus

of operative fact,” and the court granted TDMN’s 12(b)(1) motion to dismiss. Id.

       The claims asserted in Strayhorn are materially indistinguishable from those presented

here. The plaintiff asserts constitutional and civil rights claims against government officials, and

defamation claims against TDMN and its reporters based on their coverage of the underlying

events. See id.; pp. 1–4, supra. As in Strayhorn, however, the mere act of reporting on related

events does not bring defamation claims within the same case and controversy as the civil rights

claims—the defamation inquiry turns on distinct issues such as publication, malice, journalistic

investigation, substantial truth, and vicarious liability. See id. The facts relevant to these issues

are wholly “unrelated” to those needed to prove a civil rights violation by the government. See id.

       The Southern District reached the same conclusion when it declined supplemental

jurisdiction over libel claims against media defendants in Comb v. Benji’s Special Educ. Acad.,

No. H-10-3498, 2011 WL 4074525, at *11 (S.D. Tex. Sept. 13, 2011). The court specifically

rejected the Plaintiff’s contention that “because the two events [the publication and the government

action] took place within a few days of one another, an inference of their relatedness is

appropriate.” Id. The court further found that the plaintiffs’ conspiracy theory was “unsupported

by any factual allegations.” Id. This led to the conclusion that “Plaintiff’s libel claim against the

Media Defendants is discrete and separate from their federal claims against the Original

Defendants.” Id.




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        The Eastern District likewise dismissed state law claims against media defendants in Akins

v. Liberty City, recognizing it was “unlikely that [the plaintiff] would succeed in establishing that

his claims against Community Publishers (which involve the alleged publication of information

about Akins’s residence and character ‘are so related’ to the claims against the Liberty County

Defendants (which center around Akins’s treatment while incarcerated) that ‘they form part of the

same case or controversy.’” No. 1:10-CV-328, 2010 WL 11552952, at *4 n.2 (E.D. Tex. Dec. 13,

2010) (quoting 28 U.S.C. § 1367).

        Like the plaintiffs in the above cases, Pennie has failed to establish federal jurisdiction.

His attempt to inject libel claims against the media into a civil rights lawsuit against the

government amalgamates two distinct lawsuits that will require different proof, and raise disparate

issues. See id.; Comb, 2011 WL 4074525, at *11; Reynolds, 2005 WL 8155585, at *3; see also

Barnes v. Borough of Pottstown, No. Civ. A. 93-1498, 1993 WL 239314, at *1 (E.D. Pa. June 30,

1993). Giorgi therefore respectfully submits that the Court should follow the sound precedent of

its sister districts, and decline supplemental jurisdiction.

        C.      The Complaint fails to state a viable federal claim, removing any basis for
                supplemental jurisdiction over Pennie’s claims against Giorgi.

        Putting aside the severability of the Defamation and Federal Claims, the Complaint fails to

plausibly support the Federal Claims, without which, there is no basis for the Court to entertain

supplemental jurisdiction at all. “A federal court has broad discretion in deciding whether to

exercise supplemental jurisdiction over state law claims after all federal claims have been

dismissed.” Epie v. Bd. of Pardons & Paroles, No. 3:8-CV-1258-D, 2009 WL 2474050, at *2

(N.D. Tex. Aug. 12, 2009) (citing 28 U.S.C. § 1367(c)(3)). “Among the factors to be considered

in exercising this discretion are judicial economy, convenience, fairness, federalism, and comity.”

Id. “When all federal claims are dismissed prior to trial, these factors weigh heavily in favor of



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declining to exercise jurisdiction.” Id. (declining jurisdiction over remaining state law claims,

including defamation). Indeed, the Fifth Circuit’s “general rule is to dismiss state claims when the

federal claims to which they are pendent are dismissed.” Enochs v. Lampasas Cty., 641 F.3d 155,

161 (5th Cir. 2011) (quotations omitted).

         Here, Pennie must plead specific elements for each of his Federal Claims: employment

discrimination,3 violation of the First Amendment,4 denial of Equal Protection5, and violation of

Title VI.6 While not dispositive, it is telling that the Complaint only references Defendant

Rawlings only some ten times in its fifty paragraphs of purported factual allegations, and

Defendant City of Dallas only about thirteen times.7 See [Dkt. 1 ¶¶ 20–69]. Suffice it to say that

these sparse allegations come nowhere near satisfying the elements of Pennie’s Federal Claims.

         As things stand, the sum of Pennie’s claims against Rawlings and the City of Dallas are

that those Defendants “encouraged citizens to support” a rival charitable organization, “in an effort

to help Defendant ATO monopolize fundraising” at the expense of Pennie’s foundation. Id. at ¶




3
  “The elements of a claim under § 1981 are: (1) the plaintiff is a member of a racial minority; (2) an intent to
discriminate on the basis of race by the defendant; and (3) the discrimination concerns one or more of the activities
enumerated in the statute,” here, “an adverse employment action.” Hanks v. Shinseki, No. 3:08-CV-1594-G, 2009
WL 2002917, at *4 (N.D. Tex. July 9, 2009) (quotations omitted).
4
  “To establish a retaliation claim, plaintiffs must prove the following elements: “(1) the plaintiff suffered an adverse
employment decision, (2) the plaintiff's speech involved a matter of public concern, (3) the plaintiff's interest in
speaking outweighed the governmental defendant's interest in promoting efficiency, and (4) the
protected speech motivated the defendant's conduct. Juarez v. Aguilar, 666 F.3d 325, 332 (5th Cir. 2011) (quotations
omitted).
5
  “Plaintiffs must demonstrate that they have been treated differently due to their race; if so, the different treatment
will be strictly scrutinized and upheld only if it is precisely tailored to further a compelling government interest . . . A
plaintiff must also allege that the unequal treatment stemmed from a discriminatory intent.” Hampton Co. Nat. Sur.,
LLC v. Tunica County, Miss., 543 F.3d 221, 228 (5th Cir. 2008).
6
  Title VI prohibits discrimination “on the ground of race, color, or national origin,” by “any program or activity
receiving Federal financial assistance.” 42 U.S.C. § 2000d. This language “permits suits only against public or private
entities receiving [federal] funds and not against individuals.” Muthukumar v. Kiel, 478 F. App’x 156, 159 (5th Cir.
2012).
7
  In this way, it is also apparent that the Defamation Claims substantially predominate over the Federal Claims. This
too warrants dismissal of the Defamation Claims, pursuant to 28 U.S.C. § 1367(c)(2). See Brackens v. City of Ennis,
No. Civ.A.3:97-CV-2502-H, 1998 WL 101938, at *2–3 (N.D. Tex. Mar. 2, 1998).



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37. To the extent the Complaint contains non-conclusory allegations to support this theory, it still

fails to substantiate numerous elements of Pennie’s civil rights claims. For example there are:

                No allegations of adverse employment action based on race;

                No allegations of protected speech or retaliation thereto; and

                No allegations of race-based discrimination among similarly situated individuals.

Should the Court dismiss the Federal Claims based on these or other deficiencies, see [Dkt. 22;

23], the Court should also decline to exercise supplemental jurisdiction over the Defamation

Claims in accordance with Fifth Circuit standards. See Epie, 2009 WL 2474050, at *2.

II.    Pennie’s Defamation Claims against Giorgi are barred by the statute of limitations.

       Assuming jurisdiction does exist, Pennie’s failure to serve Giorgi within the limitations

period nonetheless renders his Defamation Claims against her time-barred as a matter of law. “In

the context of the statute of limitations, a court may properly dismiss an action if the face of the

pleadings indicates that the applicable statute of limitations bars the plaintiff’s claim.” Nationwide

Bi-Weekly Admin. v. Belo Corp., No. 3:06-CV-0600-N, 2006 WL 8436934, at *1 (N.D. Tex. Oct.

16, 2006), aff’d, 512 F.3d 137 (5th Cir. 2007). “When interpreting state law, federal courts apply

the state law’s statute of limitations and relation-back doctrine.” Garza v. Citizens State Bank, No.

6:08-CV-008-C, 2008 WL 11347435, at *3 n.4 (N.D. Tex. Oct. 2, 2008); see also Fluor Eng’rs &

Constructors, Inc. v. S. Pac. Transp. Co., 753 F.2d 444, 448 (5th Cir. 1985).

       In this case, the Complaint alleges that Texas residents published defamatory statements in

a Texas newspaper about another Texas resident. See [Dkt. 1 ¶¶ 5–8, 55–56].                There can

accordingly be no dispute that Texas law applies. See, e.g., Levine v. CMP Publ’ns, Inc., 739 F.2d

660, 667 (5th Cir. 1984); Chevalier v. Animal Rehab. Center, Inc., 839 F. Supp. 1224, 1229 (N.D.

Tex. 1993). “Under Texas law, the statute of limitations for a libel action is one year,” and “[t]he




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limitations period begins to run upon publication of the defamatory material.” Nationwide, 2006

WL 8436934, at *2 (citing Tex. Civ. Prac. & Rem. Code § 16.002(a)). “[T]he mere filing of a

suit,” however, “will not interrupt or toll the running of the limitations period if the plaintiff does

not exercise due diligence in procuring the issuance of service and citation upon the defendants.”

Id.; see also Harper v. Kroger Tex., L.P., No. 4:17-cv-00195-O, 2017 WL 2991472, at *1 (N.D.

Tex. July 14, 2017).

       This Court and others in Texas have repeatedly recognized that an unjustified delay of as

little as two months in obtaining service warrants dismissal. In Harper, for example, the Court

dismissed the plaintiff’s claims after observing that she “filed her suit within the limitations period

but did not effect service until about two months after the limitations period had expired.” Harper,

2017 WL 2991472, at *1. Similarly in Garcia v. Simeus Foods Int’l, Inc., the Court concluded

that “while Plaintiff’s Original Petition was filed within the limitations period, Defendant was not

served until two months after the limitations period had expired,” which warranted summary

judgment “[g]iven Plaintiff’s failure to meet his burden to explain the delay in service.” No. 3:08-

cv-01137-M, 2009 WL 2448437, at *1 (N.D. Tex. Aug. 7, 2009). And in Paredes v. City of

Odessa, the Western District rejected the argument that delay was excused “because [the

defendant] was served less than three months after the expiration of the limitations period,” noting

in particular that, “as in all aspects of the statute of limitations, any delay after the expiration of

the limitations period is significant, whether one day or three months.” 128 F. Supp. 2d 1009,

1020 (W.D. Tex. 2000) (emphasis added); see also Barlow v. Wal-Mart Stores, Inc., 215 F. App’x

317, 318 (5th Cir. 2006) (affirming summary judgment based on findings “that the plaintiff: (1)

filed just before the limitations period expired, (2) did nothing for one month after filing suit, (3)

waited an additional month after requesting and receiving summons from the clerk to request an




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extension, which was granted, and (4) waited two weeks after the extension deadline to finally

serve the defendants”).8

        Here, as in the foregoing cases, there was an unjustified delay between filing and service,

which occurred well after the limitations period expired. The Complaint alleges that Giorgi

published “[t]he false, misleading and defamatory article” on “August 17, 2018.” Compl. at ¶ 56.

The one-year statute of limitations accordingly lapsed on August 17, 2019. See Tex. Civ. Prac. &

Rem. Code § 16.002(a). While Pennie filed the Complaint just before that deadline, on August

14, 2019, see [Dkt. 1 at 1], he did not serve Giorgi until December 3, 2019. Indeed, Pennie did

not even request citations from the Clerk until over two months after limitations expired. See [Dkt.

5]. Absent compelling justification, this delay warrants dismissal of Plaintiff’s claims, like the

delays in Harper, 2017 WL 2991472, at *1, Garcia, 2009 WL 2448437, at *1, and Paredes, 128

F. Supp. 2d at 1020.

        To that point, Pennie’s filings with the Court preclude any finding of diligence that could

excuse his delay. “[W]hen a defendant complains of lack of due diligence in service of process,

the plaintiff must explain what steps he took to obtain service, not explain why he did nothing.”

Slagle v. Prickett, 345 S.W.3d 693, 698 (Tex. App.—El Paso 2011, no pet.); Farmers Tex. Cty.

Mut. Ins. Co. v. McAbee, No. 05-18-00735-CV, 2019 WL 1468037, at *2 (Tex. App.—Dallas Apr.

3, 2019, no pet. h.). In his Motion for Extension of Time to Serve Defendants, Pennie revealed

that “the reason” he waited over two months to obtain citations, and three months to effect service,

was that he had “been deciding whether to proceed with this case.” Id. In short, he had been

mulling whether or not to pursue his claims. See id. This is not diligence.


8
  While many relevant examples such as Garcia, Paredes, and Barlow were decided on summary judgment, limitations
is properly analyzed here as a matter of law on Rule 12(b)(6) motion. See Harper, 2017 WL 2991472, at *1;
Nationwide, 512 F.3d at 147. Moreover, documents referenced in the Complaint and judicially noticeable materials,
such as filings with the Court, are properly considered. Hall v. Hodgkins, 305 F. App’x 224, 227–28 (5th Cir. 2008).


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       Broom v. MacMaster is instructive. 992 S.W.2d 659, 665 (Tex. App.—Dallas 1999, no

pet.). In Broom, the plaintiff “did nothing to attempt service . . . for over three months after suit

was filed.” Id. at 664. In an attempt to excuse this delay, the plaintiff’s attorney stated “that he

‘withheld’ issuance of citation . . . . because ‘there was still a question in his mind’ about whether

[the defendant] was an appropriate party,’” among other practical considerations. Id. at 665.

“What [the plaintiff’s] attorney [did] not acknowledge,” however, was “that he made the decision

to make [the defendant] a party to the suit when he filed [the] petition.” Id. “Having made that

decision,” the court held that “it was incumbent upon [the plaintiff] to diligently attempt to serve

the [defendant] to prevent her claims from being barred by the statute of limitations.” Id. While

perhaps “tactically understandable,” the plaintiff’s failure to so effect service “established [her]

lack of diligence as a matter of law.” Id.

       Like the plaintiff in Broom, “it was incumbent upon” Pennie here to diligently effect

service upon the defendants named in his Complaint. Id. The three months he admittedly spent

wrestling with whether to proceed does not constitute diligence as a matter of law. Id. To the

contrary, his conscious evaluation of his claims “support[s] the . . . argument that diligence was

not used.” Id. As the court noted in Broom, a plaintiff “may have good reasons for not wanting

to seek immediate service on a defendant,” but “those reasons do not negate the requirement that

diligence be used in attempting service once the limitations period has passed.” Id. Simply put,

“[i]f the limitations period has passed, a plaintiff must use due diligence to procure service

regardless of any reasons he may have not to want to do so.” Id. (emphasis added). “To hold

otherwise would ignore the goal of statutes of limitations . . . and would eviscerate the long

established due diligence requirement.” Id.




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       Therefore, as in Broom, Pennie cannot demonstrate diligence to save his Defamation

Claims from the limitations bar. See id.; see also Barlow, 215 F. App’x at 318 (rejecting

explanation “that ‘family reasons’ had prevented [plaintiff] from paying fees of thirty-three dollars

necessary to obtain a process server”); Montes v. Villarreal, 281 S.W.3d 552, 558 (Tex. App.—El

Paso 2008, pet. denied) (no diligence where attorney delayed service “because he did not want his

client to incur liability for attorney’s fees and costs”); Herman v. Quorum, No. 05-01-01607-CV,

2002 WL 1895511, at *3 (Tex. App.—Dallas Aug. 19, 2002, no pet.) (withholding service “to wait

and see how things would work out,” and hesitation “because he knew that once he instigated

service of process, the defendants would begin to incur costs associated with the litigation,” is not

diligence). The Defamation Claims against Giorgi should therefore be dismissed as untimely.

III.   Plaintiff fails to state a plausible claim for relief against Giorgi.

       Finally, the Defamation Claims against Giorgi fail as a matter of law because the Complaint

does not plausibly allege that she published false statements about Pennie with actual malice.

       A.      Legal standard.

       Federal courts must “expeditiously weed out unmeritorious defamation suits” that

implicate First Amendment protections of free speech and press. Kahl v. Bureau of Nat’l Affairs,

Inc., 856 F.3d 106, 109 (D.C. Cir. 2017) (Kavanaugh, J.). Rule 12(b)(6) is an important procedural

safeguard in actual malice cases because it “provides assurance to those exercising First

Amendment rights that doing so will not needlessly become prohibitively expensive.” Biro v.

Conde Nast, 963 F. Supp. 2d 255, 279 (S.D.N.Y. 2013) (granting dismissal where plaintiff failed

to adequately plead actual malice), aff’d, 807 F.3d 541 (2d Cir. 2015).

       As a plaintiff complaining about news coverage related to his public fundraising and

standing as a Dallas police sergeant, Pennie is a public figure required to plead and prove with

specific facts that Giorgi acted with actual malice when she allegedly defamed him. See New York


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Times, Co. v. Sullivan, 376 U.S. 254 (1964). Actual malice requires proof that the alleged

defamation was made with knowledge that it was false or with reckless disregard of whether it was

false or not. Id. To meet this threshold, a plaintiff must produce more than bare or conclusory

allegations of knowing falsehood or reckless disregard of the truth in order to raise his right to

relief above a speculative level. See Parisi v. Sinclair, 845 F. Supp. 2d. 215, 218-19 (D.D.C.

2012).

         In making this assessment, a court may consider the complaint as well as documents

attached or incorporated into the complaint by reference such as the allegedly defamatory news

article. Meyers v. Textron, Inc., 540 F. App’x 408, 409 (5th Cir. 2013); Busch v. Viacom Int’l, Inc.,

477 F. Supp. 2d 764, 775 n.6 (N.D. Tex. 2007) (considering publications attached as exhibits to

defendant’s 12(b)(6) motion because they served as the basis for plaintiff’s defamation claim).

Upon review of these sources, it is clear that Pennie has not met his “heavy burden” of actual

malice as required by the First Amendment. See Sullivan, 376 U.S. at 272; Greer v. Abraham, 489

S.W.3d 440, 443 (Tex. 2016).

         B.     Pennie is a public official required to prove actual malice.

         Under the rule of New York Times v. Sullivan, police officers and other law enforcement

officials are considered public officials for purposes of actual malice. See Opaitz v. Gannaway

Web Holdings, LLC, 454 S.W.3d 61, 66 (Tex. App.—Amarillo 2014, pet. denied) (citing Pardo v.

Simons, 148 S.W.3d 181, 189 (Tex. App.–Waco 2004, no pet.) (police officer)); Hailey v. KTBS,

Inc., 935 S.W.2d 857, 859–61 (Tex. App.–Texarkana 1996, no writ) (deputy sheriff); Times–

Mirror Co. v. Harden, 628 S.W.2d 859, 860 (Tex. App.–Eastland 1982, writ ref'd n.r.e.) (Texas

DPS undercover narcotics agent); Times Herald Printing Co. v. Bessent, 601 S.W.2d 487, 489

(Tex. Civ. App.—Beaumont 1980, writ dism'd w.o.j.) (Texas DPS officer); McKinley v. Baden,

777 F.2d 1017, 1021 (5th Cir. 1985) (police officer); Morris v. Dallas Morning News, Inc., 934


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S.W.2d 410, 415 (Tex. App.—Waco 1996, writ den.) (plaintiff police officer conceded status as

public official).

        “The public perceives a police officer as an authority figure entrusted in upholding the law

and possesses a legitimate interest in information related to his ability to follow the law and

perform his duty to protect the public.” Opaitz, 454 S.W.3d. at 66 (citing Morales v. Ellen, 840

S.W.2d 519, 525 (Tex. App.—El Paso 1992, writ den.)).

        The Texas Supreme Court recently confirmed that “official conduct” under the New York

Times rule is broadly construed to include not only the official’s performance of official duties but

also the official’s fitness for public office. Greer v. Abraham, 489 S.W.3d 440, 445 (Tex. 2016)

(citing Foster v. Laredo Newspapers, Inc., 541 S.W.2d 809, 814 & n.7 (Tex. 1976)). The court

noted its own characterization of “the official-conduct concept as very broad.” Id. News reporting

that touches on an official’s fitness for public office is indicative of public official status. Garrison

v. Louisiana, 379 U.S. 64, 76–77 (1964). Moreover, personal misconduct is relevant to fitness for

public office of those charged with enforcing the law. White v. Fraternal Order of Police, 909 F.2d

512, 517 (D.C. Cir. 1990).

        Here, Giorgi’s Article “DPD Sergeant Collected Millions for Fallen Officers. A Fraction

Went to the Families” reported not only on Pennie’s actions in operating and public fundraising

for charitable foundations for fallen police officers, but also provided the context of Pennie’s

broader history with the Dallas Police Department, how he “travels the country” as a public speaker

engaged by police groups, conservative clubs and youth organizations, and his status as a political

activist interviewed on various national media platforms. See, e.g., [Dkt. 1 ¶¶ 48–49, 55–56, 63].

Indeed, the Complaint itself touts that Plaintiff is “nationally-recognized as a law enforcement

advocate” and “national media contributor on issues relating to public safety.” Id. at ¶¶ 5, 23. In




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sum, the alleged defamation relates to Pennie’s official capacity as a police officer, and

furthermore, touches on Pennie’s fitness for this role. As a result, Pennie is a public official

required to establish actual malice in order to maintain this defamation action against the News

Defendants and Giorgi.

       C.      Pennie fails to plausibly allege actual malice.

       To adequately plead actual malice, Pennie was “required to allege specific facts that

plausibly evidence actual malice in a clear and convincing manner.” Hughes v. Twenty-First

Century Fox, Inc., 304 F. Supp. 3d 429, 453 (S.D.N.Y. 2018) (citations omitted); Shaunfield v.

Experian Inf. Sols., Inc., 991 F. Supp. 2d 786, 807 n.22 (N.D. Tex. 2014).

       In other words, Pennie had to plead facts showing that Giorgi published the alleged

defamation with “knowledge of, or reckless disregard for, the falsity of a statement.” Greer, 489

S.W.3d at 444. The “reckless disregard” component of actual malice means that the media

defendant actually entertained “serious doubt about the truth of the article at the time it was

published.” Cox Tex. Newspapers, LP v. Penick, 219 S.W.3d 425, 437 (Tex. App.—Austin 2007,

pet. denied). This is a subjective standard that focuses on the state of mind of the defendant at the

time the statement was published. See Hearst Corp. v. Skeen, 159 S.W.3d 633, 637 (Tex. 2005);

New Times, Inc. v. Isaacks, 146 S.W.3d 144, 162 (Tex. 2004). Further, “actual malice” does not

mean bad motive or ill will. Greer, 489 S.W.3d at 444. The inquiry focuses instead on the

defendant’s attitude toward the truth, not his attitude toward the plaintiff. Id. at 444.

       Here, the Complaint does not plausibly allege that Giorgi knew that statements in the

Article concerning Pennie were false or that Giorgi entertained serious doubts as to the truth.

Instead, Pennie repeatedly relies on conclusory assertions and bare allegations that:

              Giorgi and the News Defendants “publish[ed] statements about Plaintiff
               which they knew or should have known to be false and misleading.” [Dkt.
               1 ¶¶ 115, 122, 131].


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                  “Defendants knew or had reason to know that their publications were false
                  and misleading.” Id. at ¶ 119.

                 Giorgi “intended or endorsed the defamatory inferences that the published
                  statements created and these false, defamatory and misleading statements
                  were made with actual malice.” Id. at ¶ 128.

                 “Defendants knew or should have known that their publications were false
                  and misleading.” Id. at ¶ 136.9

         Use of “actual-malice buzzwords,” such as “‘knowledge that its statements were ‘false’ or

had ‘serious doubts about their truth and a reckless disregard for whether they were false,’” do not

suffice. Schatz, 669 F.3d at 56. “[T]hese are merely legal conclusions, which must be backed by

well-pled facts.” Id.

         The few specifics that the Complaint offers regarding what Giorgi allegedly knew or

believed at the time of publication, fail to establish actual malice as a matter of law. For example,

Pennie contends that Giorgi published false, defamatory statements despite “evidence” he

allegedly provided that contradicted the assertions. [Dkt. 1 ¶¶ 46, 59]. For one, the Complaint

never identifies what evidence was offered or explains how it exculpated Pennie. See id. More

importantly, the First Amendment protects the right of journalists to publish information contrary

to denials or explanations of events by a public official. See Huckabee v. Time Warner Ent’mt

Co., 19 S.W.3d 413, 427 (Tex. 2000). “The mere fact that a defamation defendant knows that the

public figure has denied harmful allegations or offered an alternative explanation of events is not

evidence” of actual malice. Id. Furthermore, such conclusory assertions cannot establish actual

malice, because TDMN included his denials and explanations in the Article. See, e.g., [Dkt. 19 at




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  The assertion that the News Defendants and Giorgi “should have known” of alleged falsity fails on its face to state
actual malice as the standard requires knowing falsehood or an actual high degree of awareness of probable falsity.”
See, e.g., Garrison v. Louisiana, 379 U.S. 64, 74-75 (1964). Twombly requires a federal courts to dismiss a defamation
action where the allegations in the complaint are merely conclusory. Adelson v. Harris, 973 F. Supp. 2d 467, 503
(S.D.N.Y. 2013).


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13] (“Pennie defended his salary [of $43,300 from the Dallas Fallen Officer Foundation], saying

it allows him to dedicate more than 20 hours per week to his charity work.”); Id. (“Pennie also

defended his spending on fundraising, saying his nonprofits are only a few years old, so

telemarketing is a cost-effective way to bring in money that otherwise wouldn’t be raised.”); Id. at

15 (Plaintiff “accidentally shot himself … Pennie said.”).

       The Complaint further alleges that defendant Martin, a reporter for TDMN and an author

of the Article, declined Pennie’s invitation to attend an event conducted by the Dallas Fallen

Officer’s Foundation. [Dkt. 1 ¶¶ 52–53]. However, this allegation does not involve Giorgi, nor

does it give rise to a plausible inference of actual malice in any way. The First Amendment

protects a news organization’s choice of which events to cover or materials to include in a report.

See Huckabee, 19 S.W.3d at 436.

       Martin also allegedly received information from a representative of a competing

foundation, and Pennie claims he warned the reporter that this source had an “agenda to discredit

and defame him.” [Dkt. 1 ¶ 54]. Here again, this does not implicate Giorgi. And in any event, the

law is clear that even reliance on “a biased source” or “incomplete information” is not evidence of

actual malice. Lohrenz v. Donnelly, 350 F.3d 1272, 1284 (D.C. Cir. 2003). An allegation that a

news reporter should not have believed a source’s information about a plaintiff is no evidence of

actual malice even when coupled with a showing that a defendant “didn’t like” or “had it out” for

the plaintiff. Freedom Newspapers of Tex v. Cantu, 168 S.W.3d 847, 857–58 (Tex. 2005). A

“reporter may rely on statements by a single source, even though they reflect only one side of the

story, without manifesting a reckless disregard for the truth.” New Times, Inc. v. Wamstad, 106

S.W.3d 916, 928 (Tex. App.—Dallas 2003, pet. denied). Simply put, “a publication can portray a

person in a negative manner without liability because there is no legal obligation to present a




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‘balanced view.’” Dolcefino v. Turner, 987 S.W.2d 100, 119–21 (Tex. App.—Houston [14th

Dist.] 1998), aff’d sub nom., Turner v. KTRK Telev., Inc., 38 S.W.3d 103 (Tex. 2000).

       The Complaint also contends that Giorgi “wrote the article as if both the DFOF and …

TFOF were involved” in common fundraising and that the Article “intentionally mixed DFOF’s

and TFOF’s finances together to paint a skewed image of Plaintiff.” [Dkt. 1 ¶¶ 60–61]. This fails

to plausibly establish actual malice because the Article clearly reports separate facts and figures

for each foundation controlled by Pennie. See, e.g. id. at 31–32. Further, even if the reporting was

inaccurate, which Giorgi strongly disputes, falsity alone does not give rise to an inference of actual

malice. Huckabee, 19 S.W.3d at 420 (“Rather, to establish actual malice, a plaintiff must prove

that the defendant made the statement with knowledge that it was false or with reckless disregard

of whether it was true or not”) (quotations omitted).

       As to Pennie’s claim for defamation by implication, [Dkt. 1 ¶¶ 121–29], the Complaint

again relies on conclusory assertions, and makes no plausible showing of specific facts supporting

the allegations. The mere fact that the Article included certain information about Pennie, but

excluded other items concerning him does not plausibly show actual malice. See Deripaska v.

Associated Press, 282 F. Supp. 3d 133, 143 (D.D.C. 2017), appeal dismissed, No. 17-7164, 2017

WL 6553388 (D.C. Cir. Dec. 8, 2017) (allegation that news media defendant intentionally omitted

“crucial background” is not enough to make out a plausible case of actual malice.)

       Rather, evidence of an omission or juxtaposition made with the intent of creating a false

implication is required for actual malice. Huckabee, 19 S.W.3d at 436 (“in the absence of evidence

that the defendant selected the material to portray the judge’s record falsely, the First Amendment

protects the organization’s choice of which material to include in its broadcast”). “For an omission

to be evidence of actual malice . . . the plaintiff must prove that the publisher knew or strongly




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suspected that [the omission] could create a substantially false impression.” Turner v. KTRK

Television, Inc., 38 S.W.3d 103, 121 (Tex. 2000). The Complaint fails to plausibly plead facts

showing that TDMN omitted or juxtaposed information in the Article for the purpose of creating

a false impression.

       Similarly, Pennie’s claim that the article was the result of a coordinated effort among all

defendants to discredit him as an African-American conservative, [Dkt. 1 at 23], a premise that

Giorgi vigorously contests, does not establish actual malice. Huckabee, 19 S.W.3d at 425

(evidence of pressure to produce stories from a pre-conceived point of view fail to prove actual

malice).

       Finally, Pennie makes no showing at all that the numerous disclosed sources relied upon

by Giorgi in the Article were not credible or provided false information.          Where a news

organization relies on knowledgeable sources whose information is not inherently improbable

there is no evidence of actual malice. See Beck v. Lone Star Broad., Co., 970 S.W.2d 610, 617

(Tex. App.—Tyler 1998, pet. denied).

       In sum, the Complaint fails to state a claim for defamation for lack of “specific facts that

plausibly evidence actual malice in a clear and convincing manner.” Shaunfield, 991 F. Supp. 2d

at 807 n.22; Arpaio v. Cottle, No. 18-cv-2387, 2019 WL 3767104, at *3–5 (D.D.C. Aug. 9, 2019).

                                        CONCLUSION

       Pennie’s claims against Giorgi are untimely, implausible, and filed in the wrong court.

Whichever basis the Court chooses, dismissal is the proper result.




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